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                       MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                       1201 N ORTH M ARKET S TREET
                                              P.O. B OX 1347
                                   W ILMINGTON , D ELAWARE 19899-1347

                                               (302) 658-9200
                                            (302) 658-3989 FAX

ALEXANDRA CUMINGS
(302) 351-9248
(302) 425-4670 FAX
acumings@morrisnichols.com
                                             September 8, 2023



BY E-FILING

The Honorable Leonard P. Stark
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, NW
Washington, D.C. 20439

                   Re:       Crystallex International Corp. v. Bolivarian Republic of Venezuela
                             No. 1:17-mc-00151-LPS

Dear Judge Stark:

               Please see below the public dial-in line for members of the public to listen into the
in-person hearing scheduled for September 12, 2023 at 2:00 p.m. in Wilmington, Delaware:

                   Dial In: 646-931-3860
                   Passcode: 920236
                   Meeting ID: 848 9729 8472

                                                   Respectfully submitted,

                                                   /s/ Alexandra M. Cumings

                                                   Alexandra M. Cumings (#6146)

cc:      All Counsel of Record
